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                                                     U.S. Department of Justice

                                                     Michael R. Sherwin
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                     July 7, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. The enclosed documents were obtained and analyzed by USAO EDMO during the
course of its review. The documents include handwritten notes of former Deputy Assistant
Attorney General Tashina Gauhar from a January 25, 2017 meeting (23487-80), notes of former
Deputy Assistant Director Peter Strzok from that same meeting (23491-92), an internal DOJ
document dated January 30, 2017 (23493-97), and handwritten notes of then Acting Attorney
General Dana Boente, dated March 30, 2017 (23498-500). These materials are covered by the
Protective Order entered by the Court on February 21, 2018; additional documents may be
forthcoming.
                                                     Sincerely,

                                                     MICHAEL R. SHERWIN
                                                     Acting United States Attorney

                                               By:         /s/
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
Enclosure
